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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

RACHEL BREASHEARS,                                 )
                                                   )
                                    Plaintiff,     )
                                                   )
vs.                                                )      Case No. 10-CV-2169 WEB/KMH
                                                   )
CORNERSTONE BANK,                                  )
                                                   )
                                    Defendant.     )

                       ORDER OF DISMISSAL WITH PREJUDICE

       Upon the stipulation of the parties and for good cause shown, the action herein is hereby

dismissed with prejudice.

       IT IS SO ORDERED.



                                                   s/ Wesley E. Brown______________
                                                   Wesley E. Brown
                                                   Senior Judge

Dated: 10/21/2010
